Case 3:17-cv-00101-RDM Document 252 Filed 03/18/19 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CONSUMER FINANCIAL
PROTECTION BUREAU,
Plaintiff
: 3:17-CV-101
v. ; (Judge Mariani)
NAVIENT CORPORATION, et al.,
Defendants.
SPECIAL MASTER ORDER #16

Now, this 18th day of March, 2019, IT IS HEREBY ORDERED THAT Piaintiff shall
show cause in writing no later than March 22, 2019 why it should not be required to
produce:

1. The following documents withheld from production under Category 42 of the
Categorical Privilege Log accompanying Plaintiff's Jetter to the Special Master
dated February 15, 2019 (Doc. 225): Bates Numbers CFPB-NAV-0057145,
0057146, 0057147, 0057148, 0057149, 9957150, 0057151, and 0057152.
These are documents from outside entities and do not appear to be covered by

the deliberative process privilege.

 

 
Case 3:17-cv-00101-RDM Document 252 Filed 03/18/19 Page 2 of 2

2. The first five pages of CFPB-NAV-0057210 and all of CFPB-NAV-0057325
withheld under Category 71 of the Categorical Privilege Log accompanying

Plaintiff's letter to the Special Master dated February 15, 2019 (Doc. 225).

s/ Thomas |. Vanaskie
THOMAS |. VANASKIE
SPECIAL MASTER

 

 
